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     LLC
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12                            UNITED STATES DISTRICT COURT
13                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
14                                 WESTERN DIVISION
15   IRISH ROVER ENTERTAINMENT,                 Case No.: 2:20-cv-06293-CBM-PLAx
16   LLC, a California limited liability
     company,                                   Judge: Hon. Consuelo B. Marshall
17                                              Magistrate Judge: Hon. Paul L. Abrams
18               Plaintiff,
                                                ORDER TO CONTINUE TRIAL AND
19         vs.                                  EXTEND ALL PRE-TRIAL
                                                DEADLINES [59]
20
     AARON SIMS, an individual; MATT            [Filed concurrently with Joint Stipulation
21   DUFFER,       an    individual;  ROSS      to Continue Trial and Extend All Pre-
22   DUFFER, an individual; NETFLIX,            Trial Deadlines]
     INC., a Delaware corporation; NETFLIX
23   STREAMING SERVICES, INC., a                Complaint Filed: July 15, 2020
24   Delaware corporation; 21 LAPS, INC., a     Trial Date: November 29, 2022
     California corporation; and DOES 1
25   through 50, inclusive,                     [NOTE CHANGES MADE BY COURT]
26
                 Defendants.
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           ORDER TO CONTINUE TRIAL AND EXTEND ALL PRE-TRIAL DEADLINES
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 1                                             ORDER
 2         The Court, having read and considered the foregoing Stipulation between the parties,
 3   and good cause appearing thereof, hereby ORDERS as follows:
 4         1.      The non-expert discovery cutoff date, currently set for May 27, 2022, shall be
 5   extended for a period of ninety (90) days to August 25, 2022;
 6         2.      The initial expert disclosures deadline, currently set for June 24, 2022, shall
 7   be extended for a period of ninety (90) days to September 22, 2022;
 8         3.      The rebuttal expert disclosures deadline, currently set for July 22, 2022, shall
 9   be extended for a period of ninety (90) days to October 20, 2022;
10         4.      The expert discovery cutoff date, currently set for August 12, 2022, shall be
11   extended for a period of ninety (90) days to November 10, 2022;
12         5.      The settlement conference deadline, currently set for July 29, 2022, shall be
13   extended to JANUARY 31, 2023; and
14         6.      The last day to hear motions, currently set for September 27, 2022, shall be
15   extended to December 26, 2022;
16    7.    The Pre-Trial Conference, currently set for October 25, 2022 at 2:30 p.m., shall
17          be continued for a period of ninety (90) days to MARCH 7, 2023 at 2:30 p.m.; and
18         8.      Jury Trial, currently set for November 29, 2022 at 10:00 a.m. (est. 7 days),
19   shall be continued for a period of ninety (90) days to APRIL 4, 2023 at 10:00 a.m.
20         IT IS SO ORDERED.
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22   Dated: MARCH 29, 2022                          _________________________________
23                                                  HON. CONSUELO B. MARSHALL
                                                    UNITED STATES DISTRICT JUDGE
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                ORDER TO CONTINUE TRIAL AND EXTEND ALL PRE-TRIAL DEADLINES
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1                                     PROOF OF SERVICE
2    STATE OF CALIFORNIA                   )
                                           )      ss
3    COUNTY OF LOS ANGELES                 )
4           I am employed in the County of Los Angeles, State of California. I am over the age
5    of 18 years of age and am not a party to this action. My business address is 222 North
     Pacific Coast Highway, Suite 2222, El Segundo, CA 90245.
6
            On March 25, 2022, I served the document(s) as described below on interested
7    parties in this action as follows:
8
           [PROPOSED] ORDER TO CONTINUE TRIAL AND EXTEND ALL PRE-
9          TRIAL DEADLINES
10
11     ☒ electronically by using the Court’s ECF/CM System.
12          David A. Grossman, Esq.                    Attorneys for Defendants Aaron Sims,
            Safia G. Hussain, Esq.                     Matt Duffer, Ross Duffer, Netflix, Inc.,
13
            Loeb and Loeb LLP                          Netflix Streaming Services, Inc., and
14          10100 Santa Monica Boulevard               21 Laps, Inc.
15          Suite 2200
            Los Angeles, CA 90067-4120
16          Email: dgrossman@loeb.com
17                 sghussain@loeb.com

18
19         I declare under penalty of perjury under the laws of the State of California that the
20   above is true and correct.
21         Executed on March 25, 2022, at El Segundo, California.
22
23
                                                         /s/ J. Austin Raymundo
24
                                                         Jon Austin Raymundo
25
26
27
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                                          PROOF OF SERVICE
